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                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION

In re:                                                         Case No. 20-30194-KRH
         Lodessa Ann Clark

                     Debtor(s)


          CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Carl M. Bates, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 01/13/2020.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

         4) The trustee filed action to remedy default by the debtor in performance under the plan on
NA .

         5) The case was dismissed on 07/16/2020.

         6) Number of months from filing to last payment: 0.

         7) Number of months case was pending: 7.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .



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Receipts:

           Total paid by or on behalf of the debtor                      $0.00
           Less amount refunded to debtor                                $0.00

NET RECEIPTS:                                                                                          $0.00


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                     $0.00
    Court Costs                                                               $0.00
    Trustee Expenses & Compensation                                           $0.00
    Other                                                                     $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                      $0.00

Attorney fees paid and disclosed by debtor:                       $0.00


Scheduled Creditors:
Creditor                                           Claim       Claim          Claim      Principal      Int.
Name                                  Class      Scheduled    Asserted       Allowed       Paid         Paid
AT &T Mobility II LLC             Unsecured              NA    2,705.00       2,705.00          0.00      0.00
Bon Secours                       Unsecured              NA    1,561.95       1,561.95          0.00      0.00
CREDIT ACCEPT ANCE CORPORAT I     Secured                NA    7,966.18       7,966.18          0.00      0.00
Henrico Doctors Hospital          Unsecured              NA      250.00         250.00          0.00      0.00
MIDLAND FUNDING LLC               Unsecured              NA      654.97         654.97          0.00      0.00
Nationstar Mortgage LLC           Secured                NA   33,708.00      33,708.00          0.00      0.00




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 Summary of Disbursements to Creditors:
                                                                 Claim          Principal           Interest
                                                              Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                        $0.00                $0.00             $0.00
       Mortgage Arrearage                                 $33,708.00                $0.00             $0.00
       Debt Secured by Vehicle                             $7,966.18                $0.00             $0.00
       All Other Secured                                       $0.00                $0.00             $0.00
 TOTAL SECURED:                                           $41,674.18                $0.00             $0.00

 Priority Unsecured Payments:
         Domestic Support Arrearage                             $0.00               $0.00             $0.00
         Domestic Support Ongoing                               $0.00               $0.00             $0.00
         All Other Priority                                     $0.00               $0.00             $0.00
 TOTAL PRIORITY:                                                $0.00               $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                               $5,171.92                $0.00             $0.00

Disbursements:

         Expenses of Administration                                    $0.00
         Disbursements to Creditors                                    $0.00

TOTAL DISBURSEMENTS :                                                                              $0.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the
estate has been fully administered, the foregoing summary is true and complete, and all administrative
matters for which the trustee is responsible have been completed. The trustee requests a final decree be
entered that discharges the trustee and grants such other relief as may be just and proper.

Dated: 08/11/2020
                                               By: /s/ Carl M. Bates
                                                                          Trustee
STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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